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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:20-cr-00148-CMA

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1.      MICHAEL SANG CORREA,

        Defendant.



                      NOTICE OF ENTRY OF APPEARANCE


To: The Clerk of the court and all parties of Record

        The United States of America, by Cole Finegan, United States Attorney for

the District of Colorado, through Melissa Hindman, Assistant United States

Attorney hereby enters her appearance as counsel for the Government in this

case.

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         I hereby certify that I am a member in good standing of the bar of this

court.

         Dated this 6th day of April, 2022.


                                          Respectfully submitted,

                                          COLE FINEGAN
                                          United States Attorney

                                          By: s/ Melissa Hindman
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          1801 California Street, Suite 1600
                                          Denver, Colorado 80202
                                          Telephone: (303) 454-0100
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                                          Attorney for the Government




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                           CERTIFICATE OF SERVICE

     I hereby certify that on this 6th day of April, 2022, I electronically filed the
foregoing NOTICE OF ENTRY OF APPEARANCE with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to all counsel
of record.



                                       s/Mariah Hill
                                       Legal Assistant
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                                       Denver, Colorado 80202
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